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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                   DAYTON DIVISION




       STATE OF ARIZONA, et al.

               Plaintiffs,

       v.                                                  Case No. 3:21cv00314
                                                           The Honorable Michael J. Newman
       JOSEPH R. BIDEN, et al.

               Defendants.



            REPLY IN SUPPORT OF DEFENDANTS’ MOTION FOR A STAY
             PENDING APPEAL AND FOR AN ADMINISTRATIVE STAY

                                       INTRODUCTION
       The States’ opposition reflects a fundamental misunderstanding of federal immigration

operations and demonstrates why this Court should grant a stay while Defendants seek relief in

the Sixth Circuit. At the very least, this Court should grant an administrative stay to allow due

consideration by the Sixth Circuit.

       Last week, the Court issued a nationwide injunction forcing the Department of Homeland

Security (“DHS”) to abruptly modify guidance given to all U.S. Immigration and Customs

Enforcement (“ICE”) personnel concerning the apprehension and removal of noncitizens. As

Defendants explained in their motion for a stay pending appeal, ECF No. 49, the Court’s opinion

relied on multiple errors of law, several of which the States concede. The States do not dispute

Defendants’ fundamental argument: that DHS lacks the resources to arrest, detain, or remove all

of the noncitizens described in the various statutory provisions they cite and that DHS necessarily

must and may exercise discretion not to take such enforcement actions in certain scenarios. The

States’ sole argument, then, is that DHS is precluded from acknowledging and sensibly responding


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to what both Defendants and the States agree on, and from issuing guidance to enforcement

personnel on how to proceed in light of those constraints. But given that the Parties agree that DHS

may exercise its discretion, and given that Congress expressly charged the Secretary with the

responsibility to set national immigration enforcement priorities, 6 U.S.C. § 202(5), there is

nothing unlawful in the Secretary’s policy that provides guidance to immigration officials on the

exercise of discretion that all parties agree they have.

       In addition, the States do not engage with the series of operational harms identified by

Defendants; the States barely even allude to the declaration of the senior enforcement officer

submitted in support of the stay motion. As Defendants previously illustrated, this Court’s

injunction has disrupted DHS practices that go back decades and has already sowed confusion

among ICE immigration enforcement personnel. This Court’s injunction will thus likely continue

to require DHS to divert additional resources to ensure that its personnel understand the legal and

policy framework governing their enforcement decisions. Critically, this disruption, and the

attendant resource expenditure, may be for naught: if the Sixth Circuit agrees with the Defendants

that the enforcement guidance at issue falls squarely within DHS’s historic discretion over law

enforcement decisions, and thus vacates the Court’s preliminary injunction, DHS personnel may

revert back to considering the September Guidance in full. The Court’s injunction establishes a

whipsaw effect, all to address a handful of speculative injuries asserted by three States.

       The Court should stay its injunction pending an appeal of the injunction, or at a minimum,

the Court should administratively stay its injunction for 7 days so that Defendants may seek relief

in the Court of Appeals. Defendants—agencies and officers of a co-equal branch of government—

should be given an opportunity to exhaust avenues for emergency relief before they are forced to

abandon their considered policy in the sensitive area of immigration law.

                                           ARGUMENT
       In deciding a motion to stay, the Court “balance[s] four ‘interrelated’ factors: (1) the

likelihood that the party seeking the stay will prevail on the merits of the appeal; (2) the likelihood


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that the moving party will be irreparably harmed absent a stay; (3) the prospect that others will be

harmed if the court grants the stay; and (4) the public interest in granting the stay.” SawariMedia,

LLC v. Whitmer, 963 F.3d 595, 596 (6th Cir. 2020) (internal quotation marks omitted). Further,

the decision of whether to grant a stay is “an exercise of judicial discretion.” Nken v. Holder, 556

U.S. 418, 433 (2009) (citation omitted). Here, the balance of those factors favors the entry of a

stay.1
         I.   Balancing of the Equities Favor a Stay.
         The Court’s nationwide preliminary injunction has already imposed, and will likely

continue to impose, significant burdens on DHS. Most fundamentally, the Court’s injunction—

requiring an abrupt nationwide change in immigration enforcement policy—imposes significant

operational burdens on DHS. ICE’s Enforcement and Removal Operations (“ERO”) component is

principally responsible for the “identif[ication] and apprehe[nsion of] removable noncitizens,” and

the removal of “noncitizens with final orders of removal from the United States.” Declaration of

Daniel Bible (“Bible Decl.”), ECF No. 49-1, ¶ 5, PAGEID 1179-80. ERO “employs approximately
6,000 immigration officers nationwide,” and DHS invested substantial resources in training those

officers, and other DHS personnel, concerning the Secretary’s September Guidance. Id. ¶¶ 6, 17,

PAGEID 1180, 1184. This educational effort was essential; DHS delayed the effective date of the

September Guidance by sixty days to provide sufficient time for officers to review and understand

the September Guidance prior to its implementation. See Guidelines for the Enforcement of Civil

Immigration Law (the “September Guidance”) at 6, PAGEID 448 (providing for a comprehensive




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 Defendants are likely to succeed on the merits for the reasons explained below. But, regardless, the States
cite the wrong standard in stating that “the moving party must prove a likelihood of success on the merits”
for a court to grant a stay. See Plaintiffs’ Opposition to Stay Pending Appeal and Administrative Stay (“Pls.
Opp’n”), ECF No. 53, at 2, PAGEID 1210. Rather, a court is to balance the different factors and has
discretion to enter a stay. SawariMedia, 963 F.3d at 596; Nken, 556 U.S. at 433.


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implementation process: training; process for reviewing effective implementation; data collection;

and case review process).

        The States do not dispute Defendants’ interpretation of the terms of the Court’s injunction.2

Defendants understand the injunction to prohibit: first, reliance on the September Guidance to

decline to take custody, upon receiving advance and official notice of their release from the

criminal custody of non-DHS authorities, of individuals who are currently in removal proceedings,

and for whom DHS had previously made an affirmative § 1226(c) determination; second, reliance

on the September Guidance when deciding whether to release certain detained individuals from

DHS custody during the removal period; and third, reliance on the September Guidance to delay,

continue, or stay the removal of anyone with a final order of removal in DHS custody.

        The Court’s injunction, under Defendants’ interpretation, required an abrupt, nationwide

modification to implementation of the September Guidance, altering the guidance for DHS

personnel when enforcing the immigration laws. And as noted by ERO’s Acting Deputy Executive

Associate Director, “implementation of [the Court’s] order is resulting in confusion among the

ERO workforce.” See Bible Decl. ¶ 17, PAGEID 1184; id. ¶ 45, PAGEID 1196 (“The Court’s

order and preliminary injunction inject considerable confusion into the stay adjudication process

because many of the factors militating in favor of declining to enforce a removal order under the

[September Guidance] were also considered as part of DHS’s discretionary decision-making

before the memorandum took effect.”). The Court’s order may continue to create confusion among

DHS’s nationwide workforce, requiring ICE to invest resources to ensure that immigration officers

are aware of the legal framework under which they must make daily, sensitive enforcement

decisions. Importantly, these burdens may prove unnecessary: if the Sixth Circuit agrees that the

Court’s interpretation of the relevant statutes conflicts with decades of relevant Supreme Court



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  Contrary to the States’ suggestion, Pls.’ Opp’n at 4, PAGEID 1212, Defendants do not understand the
reference to “custody decisions” in section 1a of the injunction to limit that section’s scope to release
determinations. Defendants highlighted the term’s meaning to illustrate the Court’s error in construing both
the statute and DHS’s practice. See Defs.’ Stay Mot. at 12, PAGEID 1170.

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precedent, and thus vacates the Court’s injunction, DHS personnel may continue following the

September Guidance in full.

       The States are wrong to suggest that the few days it took for Defendants to file a

comprehensive stay motion, with an accompanying declaration, somehow shows that the Court’s

injunction is not burdensome. For one, Defendants moved for an administrative stay within hours

of the Court’s decision to grant a preliminary injunction, underscoring the harms it would cause.

See Emergency Motion for an Administrative Stay, ECF No. 45, PAGEID 1147-49. Further,

Defendants did not take an unjustified amount of time in filing a stay motion. Defendants filed

their motion less than a week later, which is reasonable given the need to assess the scope of the

Court’s injunction and its cascading effects on the agency. And far from undermining Defendants’

asserted harms, the few days it took to file a stay motion confirmed that those harms are real. See

generally Bible Decl., PAGEID 1178-1200. By requiring an abrupt change in policy, the Court’s

injunction has imposed, and will likely continue to impose, meaningful burdens on DHS. In any

event, if the issue is a question of due diligence, there should be no question the Court should grant

a stay or, at least, an administrative stay of 7 days; the States waited nearly two months to file their

motion for a preliminary injunction to enjoin the September Guidance. See Combined Mot. for

Prelim. Inj. and Mem. in Support of Mot. for Prelim. Inj., ECF No. 4 (Nov. 23, 2021), PAGEID

55.

       Aside from operational burdens associated with abrupt policy changes in general, the States

fail to rebut Defendants’ evidence of the injunction’s disruption of longstanding DHS practice and

operations. Without addressing the declaration of Daniel Bible, the States incorrectly assert that

DHS merely needs to return to its practices of “four months ago” or, at the very least, the practices

of the past Administration. See Pls.’ Opp’n at 3-4, PAGEID 1211-12. In fact, the Court’s injunction

is inconsistent with DHS law enforcement practices, and its understanding of prosecutorial

discretion, going back decades. See, e.g., Considerations Memo at 18-19, ECF No. 27-2, PAGEID

460-61; Meissner Mem. at AR32, ECF No. 27-4, PAGEID 474. Mr. Bible—with nearly a quarter

century experience in various immigration enforcement roles, Bible Decl. ¶ 3, PAGEID 1178-

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79—explained in detail how the Court’s injunction affects the agency’s work, operations, and,

ultimately, the execution of its mission to enforce the nation’s immigration laws. The States do not

engage with, much less dispute, the harms identified in Mr. Bible declaration, citing it only once

for the proposition that the agency has to divert resources to address border security. See Pls.’

Opp’n at 12-13, PAGEID 1220-21.

       All three portions of the Court’s injunction contribute to this disruption of DHS operations.

For section 1.a of the Court’s injunction, relating to 8 U.S.C. § 1226(c), Mr. Bible, explained that,

“[h]istorically, DHS has, as an operational matter, generally determined whether the mandatory

custody provisions of 8 U.S.C. § 1226(c) apply after a noncitizen is arrested and booked into ICE

custody.” Id. ¶ 25, PAGEID 1187. In terms of section 1.b of the Court’s injunction, relating to the

release of detained individuals during the removal period, Mr. Bible emphasized that DHS long

understood that mandatory detention under § 1231(a)(2) applies solely to a subset of individuals

demarcated in the statutory text: “DHS has historically understood § 1231(a)(2) as authorizing the

detention of noncitizens during the removal period, but prohibiting the release during the removal

period only of those detained noncitizens found inadmissible under § 1182(a)(2) or (a)(3)(B) or

deportable under § 1227(a)(2) or (a)(4)(B).” Id. ¶ 38, PAGEID 1193. Finally, as for section 1.c of

the injunction, concerning DHS’s discretion in delaying, continuing, or staying final orders of

removal for individuals in ICE detention, Mr. Bible again underscored DHS’s historical practices:

“DHS has long considered its stay authority discretionary and exercised its authority to stay

noncitizen’s removal following case-by-case evaluation, consistent with the statutory standard,

since before the [September Guidance] took effect.” Id. ¶ 44, PAGEID 1195.

       Likewise, as this operational reality demonstrates, the Court’s injunction intrudes on

Executive authority in this sphere. The States are dismissive of this argument, refusing to even

engage and instead making the conclusory statement that the September Guidance is unlawful. See

Pls.’ Opp’n at 8-9, PAGEID 1216-17. But the Executive Branch’s constitutional authority and

statutory responsibility to develop and implement its immigration enforcement priorities cannot

be disputed. See 6 U.S.C. § 202(5); 8 U.S.C. § 1103(a)(3); see also Reno v. American-Arab Anti-

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Discrimination Comm. (“AADC”), 525 U.S. 471, 483-84 (1999). Here, the injunction “is not

merely an erroneous adjudication of a lawsuit between private litigants, but an improper intrusion

by a federal court into the workings of a coordinate branch of the Government.” INS v. Legalization

Assistance Project, 510 U.S. 1301, 1305-06 (1993) (O’Connor, J., in chambers); see Heckler v.

Lopez, 463 U.S. 1328, 1330 (1983) (Rehnquist, J., in chambers); see also Adams v. Vance, 570

F.2d 950, 954 (D.C. Cir. 1978) (per curiam). In particular, the injunction intrudes on “‘an

indubitable and a Constitutional power’” of the Executive’s “prosecutorial discretion.” Texas v.

United States, 14 F.4th 332, 340-41 (5th Cir.), vacated, 24 F.4th 407 (5th Cir. 2021). “The injury

to the executive’s daily exercise of this historic discretion is irreparable in the basic sense of the

word; there is no way to recover the time when its exercise of discretion is being enjoined during

the pendency of the appeal.” Id.

       In the end, a stay is necessary to prevent the continuation of these harms while the Sixth

Circuit addresses the merits of the Court’s preliminary injunction. These harms outweigh the

speculative, unsupported injuries alleged by the Plaintiff States. In their response, the States devote

only a single, short paragraph to their alleged harms, stating that the September Guidance “means

more criminal aliens will remain in the States,” allegedly causing “the States to bear more . . .

costs” relating to law enforcement, health care, and education. Pls.’ Opp’n at 13, PAGEID 1221.

But the September Guidance was in effect, in full, for nearly four months, and yet the States still

fail to identify a single noncitizen who (i) resides in a Plaintiff State, (ii) would have been subject

to an enforcement action but for the portions of the September Guidance that the Court enjoined,

and (iii) has committed a crime requiring State law enforcement resources, or has relied on State

health care or education resources, after the September Guidance went into effect. The States

provided no meaningful evidence of harm with their preliminary injunction motion, and here again

fail to provide that evidence. The Court should not sustain an injunction requiring an abrupt change

to the nationwide policies of a co-equal branch of government, based on such speculative,

unsupported harms alleged by the three Plaintiff States, which have no judicially cognizable

interest in the manner of enforcing immigration laws to begin with. Sure-Tan, Inc. v. NLRB, 467

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U.S. 883, 897 (1984). At a minimum, the States have failed to show that the equities counsel in

favor of a nationwide injunction because established principles of equity require that relief extend

no further than injuries shown by the plaintiff as a result of an established violation. See

Defendants’ Motion for a Stay Pending Appeal (“Defs.’ Stay Mot.”), ECF No. 49, at 17, PAGEID

1175. On the contrary, on the record before the Court, the balance of equities heavily favors

Defendants, and the injunction should be stayed.
       II.        Defendants are likely to prevail on appeal.
       The States’ brief in opposition highlights that their dispute with the September Guidance

is not that it is contrary to law, but rather contrary to the States’ policy preferences. Repeatedly,

the States admit that DHS retains discretion to decline to arrest, to detain, or to remove under the

statutes the States invoke. In this respect, the States “recognize that resource limitations may keep

individual ICE officers from making specific arrests” and that “ICE officers retain discretion to

make these types of decisions,” Pls.’ Opp’n at 4, PAGEID 1212. And the States do not dispute that

ICE’s custody and removal decisions may be guided by “operational constraints,” id. at 11,

PAGEID 1219, such as resource limitations, or “foreign policy realities,” id. at 12, PAGEID 1220.

The States thus concede that DHS must and may exercise discretion not to take such enforcement

actions.
       A. Plaintiffs do not engage with Defendants’ statutory arguments.
             i.    Section 1226(c)(1) does not impose a judicially enforceable mandate.
       The States acknowledge that DHS cannot arrest everyone described in § 1226(c)(1)(A)-

(D), and they do not object that individual DHS officers will necessarily make decisions about

which persons described in the statute will actually be arrested. See Pls.’ Opp’n at 10-11, PAGEID

1218-19. In other words, they agree that DHS retains discretion regarding enforcement of

§ 1226(c)(1). The States’ concession is inconsistent with this Court’s holding, but consistent with

the Supreme Court’s recognition in Nielsen v. Preap that the “duty” in § 1226(c)(1) to “arrest

criminal aliens upon their release” is not to be “enforced by courts.” 139 S. Ct. 954, 969 n.6 (2019)

(emphases omitted). Because resource constraints and other enforcement considerations


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necessarily prevent DHS from arresting everyone described in § 1226(c)(1), including those in

criminal detention, DHS must be able to exercise its discretion to set priorities to guide which of

those described in the statute it will arrest. See Town of Castle Rock v. Gonzales, 545 U.S. 748,

761 (2005) (observing that resource constraints and circumstantial impossibility support

interpreting a “shall arrest” statute as not imposing a judicially enforceable duty); id. at 762 (noting

the “practical necessity for discretion”). Thus, to the extent that this Court’s order limits

Defendants in what officers may consider when making arrest decisions, it intrudes on Defendants’

ability to exercise a residuum of prosecutorial discretion that the statute has not extinguished. See

Defs.’ Stay Mot., at 12-13, PAGEID 1170-71 (explaining that taking custody of a noncitizen from

a non-DHS law enforcement agency constitutes an arrest of the noncitizen); Bible Decl. ¶ 26,

PAGEID 1188 (explaining how “an ICE officer must appear at the [law enforcement agency’s]

facility and make an arrest” before taking custody of an individual being released from criminal

custody).
            ii.   Section 1231(a)(2) does not impose a judicially enforceable mandate.
        The States make nothing more than a conclusory argument that the September Guidance

violates § 1231(a)(2). See Pls.’ Opp’n at 5, PAGEID 1213 (“‘shall’ . . . is mandatory”). But even

as the States acknowledge that the second sentence of § 1231(a)(2) means (as DHS has maintained

in this litigation and in the Considerations Memorandum) that DHS has no discretion during the

90-day removal period to release detained noncitizens with specified criminal convictions, it

ignores the corollary that DHS retains discretion to release others. Pls.’ Opp’n at 5, PAGEID 1213;

see Bible Decl. ¶ 38, PAGEID 1193 (discussing DHS’s longstanding application of § 1231(a)(2)).

The States ignore the significance of the linguistic distinctions between the first and second

sentences of § 1231(a)(2), and the implications of those differences in light of Castle Rock. The

first sentence, properly understood, does not impose a judicially enforceable mandate on DHS.

And the States offer no answer to Defendants’ argument that the contrary reading, adopted by the

States and the Court, would make the second sentence nugatory. See Bible Decl. ¶ 38, PAGEID

1193.

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             iii.   Section 1231(a)(1) does not impose a judicially enforceable mandate.
         The States acknowledge both that DHS “has discretion to abandon removal proceedings,”

 Pls.’ Opp’n at 6, PAGEID 1214, and that DHS may properly exercise that discretion in certain

 circumstance, such as to accommodate “foreign policy realities,” id. at 12, PAGEID 1220. But,

 without reference to any statutory text, the States assert that Congress “created exceptions” to

 DHS’s uncontested discretion to abandon removal proceedings. Id. at 6, PAGEID 1214. To the

 extent that the Court’s ruling limits DHS’s discretion to abandon or defer removal—discretion

 expressly recognized by the Supreme Court—it is likely to be reversed on appeal. See AADC, 525

 U.S. at 483-84 (affirming that the Executive has “discretion to abandon” “execut[ing] removal

 orders”); see also Arizona v. United States, 567 U.S. 387, 396 (2012) (a “principal feature of the

 removal system is the broad discretion exercised by immigration officials”).3
         B. Defendants are likely to prevail on the other issues as well.
         The States likewise fail to engage with Defendants’ argument that the Court overstepped

 its role in the arbitrary and capricious analysis. “Judicial review under [the arbitrary-and-

 capricious] standard is deferential, and a court may not substitute its own policy judgment for that

 of the agency.” FCC v. Prometheus Radio Project, 141 S. Ct. 1150, 1158 (2021). “A court simply

 ensures that the agency has acted within a zone of reasonableness and, in particular, has reasonably

 considered the relevant issues and reasonably explained the decision.” Id. Indeed, the States’

 reliance on recidivism perfectly illustrates both the States’ and this Court’s error. In developing

 the September Guidance, namely its aggravating and mitigating factors, DHS expressly considered

 the issue of recidivism, and “exercised its expert judgment and experience to identify those factors

 that make an offender particularly more likely or less likely to recidivate.” Considerations Memo


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   The States’ reference to the government’s brief in earlier litigation gets them nowhere. As that brief
 explains, Congress has, from time to time, used appropriations bills to direct DHS to prioritize removals in
 certain ways. See Pet. Br., United States v. Texas (DAPA), 2016 WL 836758 at *4 (U.S. Mar. 1, 2016)
 (citing Consolidated Appropriations Act, 2016, Pub. L. No. 114-113, H.R. 2029, Div. F, Tit. II, 114th
 Cong., 1st Sess. 256; DHS Appropriations Act, 2009, Pub. L. No. 110-329, Div. D, Tit. II, 122 Stat. 3659).
 The States have pointed to no such law currently in effect and, in any event, the September Guidance
 instructs DHS personnel to consider (among other things) the severity of the offense when deciding which
 cases to pursue for removal.

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 at 13, PAGEID 455. The agency relied on information from the United States Sentencing

 Commission, as well as its own experience enforcing immigration law. It considered relevant

 literature on the topic, while acknowledging that empirical data on recidivism particularly within

 the noncitizen population is incomplete because law enforcement agencies generally do not track

 “legal status.” Id. Moreover, the agency judged that the question of recidivism is not a binary

 question, because, in its judgment, “[n]ot all offenses present the same risk to public safety.” Id.

 (noting that “while an individual with a substance abuse addiction may be highly likely to

 recidivate and be convicted again for a simple controlled substance offense, that individual may

 pose a smaller risk to public safety than an individual who has committed a recent violent assault”).

        The Court faulted the agency for also considering the difficulty of applying the “aggravated

 felony” definition, because that concern, the Court said, did not speak to recidivism at all. See

 Order at 57, PAGEID 1124, ECF No. 44. But the agency identified two problems with the

 aggravated felony definition. One problem, as the Court recognized, was the difficulty of applying

 the definition. See Consideration Memo at 12, PAGEID 454. But the other problem was that the

 aggravated felony category “was both over- and under-inclusive” and was an “imperfect proxy for

 severity of offense,” id., which the agency considered an important aspect of the public safety

 analysis. The Court ignored this part of the agency’s analysis.

        The Court also faulted the agency for relying on a particular academic article which, in the

 Court’s view, compared the wrong populations for drawing any strong inference about “criminal

 alien recidivism.” Order at 58, PAGEID 1125. But the Court’s error in this respect was double.

 For one, the Court overstated the purpose for which the agency relied on the article. The agency

 started by noting that empirical data on the particular subject was generally poor because of the

 failure to control for the precise issue—recidivism by legal status. Considerations Memo. at 13,

 PAGEID 455. It then noted that the limited literature that did control for legal status “indicates”—

 not proves or establishes—“that undocumented noncitizens are less likely to recidivate.” Id. For

 another, the Court erred by substituting its own consideration of the article for the agency’s. It was

 not unreasonable for the agency to draw inferences from the data available, recognizing the data’s

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 inherent limitations. The Court further erred in its evaluation of the 2019 ICE Report. Order at 59,

 PAGEID 1126. As that report reflects, during fiscal year 2019, resource constraints forced ICE to

 prioritize its interior enforcement efforts by focusing on “criminal aliens [with] extensive criminal

 histories with multiple convictions or pending charges.” 2019 ICE Report at 12,

 https://perma.cc/E3MS-DLEP. The data on this subset of noncitizens “that ICE arrests”—that is,

 those with “multiple convictions or pending charges”—had a “recidivist nature.” Id. (emphasis

 added). Contrary to the Court’s assessment, DHS not only did not contradict that conclusion, it

 made the exact same point, by “identify[ing] those factors that make an offender particularly more

 likely or less likely to recidivate,” Considerations Memo. at 13, PAGEID 455, including the

 presence of “a serious prior criminal record,” September Guidance at 3, ECF No. 4-1, PAGEID

 100.

         The States endorse these errors and add their own, contending that the agency “denied that

 recidivism is a problem worth addressing.” Pls.’ Opp’n at 7, PAGEID 1215. That is incorrect: the

 agency identified recidivism as central to the question whether someone was a public safety threat.

 Considerations Memo at 12-13, PAGEID 454-55. But the essential point is that all of these

 decisions—the nature and extent of the consideration of recidivism, what factors to use to assess

 it, how to evaluate academic and other evidence—are committed to the Secretary. The evidence

 before the Secretary “hardly led ineluctably to just one reasonable course of action,” but instead

 “called for value-laden decisionmaking and the weighing of incommensurables under conditions

 of uncertainty.” Dep’t of Com. v. New York, 139 S. Ct. 2551, 2571 (2019). “[T]he choice between

 reasonable policy alternatives in the face of uncertainty was the Secretary’s to make,” id. at 2570,

 and “[b]y second-guessing the Secretary’s weighing of risks and benefits,” the Court

 impermissibly “substitutes [its] judgment for that of the agency,” id. at 2571. Neither the Plaintiffs,

 nor this Court, may supplant the Secretary’s judgment about whether the September Guidance’s

 aggravated and mitigating factors are the most effective way to focus efforts on public safety

 threats, including likely recidivists. See id.



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        Nor do Plaintiffs engage with the other arguments that Defendants raise with respect to the

 States’ remaining claims. In determining that the September Guidance was final agency action, the

 Court failed to focus on whether any legal consequences flowed from the policy, as distinct from

 its practical effects. See Defs.’ Mem. of P.&A. in Opp’n to Pls.’ Mot. for Prelim. Inj., at 24, ECF

 No. 28 (“PI Opp’n”), PAGEID 648 (citing Parsons v. U.S. Dep’t of Just., 878 F.3d 162, 168 (6th

 Cir. 2017)). The Court likewise erred in determining that the States have a judicially cognizable

 interest in immigration enforcement against noncitizens, notwithstanding the Supreme Court’s

 statement to the contrary. See PI Opp’n at 15, PAGEID 639 (citing Linda R.S. v. Richard D., 410

 U.S. 614, 619 (1973)). As to standing, the Court was wrong to attribute the actions of third parties

 to Defendants, which defeats the States’ theory of standing. See PI Opp’n at 15-16, PAGEID 639-

 40. And on the States’ notice and comment claim, the Court failed to recognize that DHS’s

 statement of policy is exempt from notice-and-comment requirements. See PI Opp’n at 40,

 PAGEID 664 (citing Lincoln v. Vigil, 508 U.S. 182, 196-97 (1993)); see also September Guidance

 at 5, PAGEID 102 (“The civil immigration enforcement guidance does not compel an action to be

 taken or not taken. Instead, the guidance leaves the exercise of prosecutorial discretion to the

 judgment of our personnel.”).

        At bottom, Defendants are likely to prevail on the merits in any appeal. And, given the

 harms previously discussed, this Court should grant a stay.

                                          CONCLUSION
        For the reasons stated above, Defendants respectfully request that the Court issue a stay

 pending appeal or, in the alternative, issue an administrative stay of 7 days so that Defendants may

 seek relief from the Sixth Circuit.




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 Dated: March 31, 2022                Respectfully submitted,

                                      BRIAN M. BOYNTON
                                      Principal Deputy Assistant Attorney General

                                      BRIGHAM J. BOWEN
                                      Assistant Branch Director

                                      /s/Michael F. Knapp
                                      MICHAEL F. KNAPP
                                       CA Bar No. 314104
                                      Trial Attorney
                                      ADAM D. KIRSCHNER
                                       IL Bar. No. 6286601
                                      Senior Trial Counsel
                                      BRIAN C. ROSEN-SHAUD
                                       ME Bar No. 006018
                                      KUNTAL CHOLERA
                                       DC Bar No. 1031523
                                      Trial Attorneys
                                      United States Department of Justice
                                      Civil Division, Federal Programs Branch
                                      Tel: (202) 353-9265
                                      Fax: (202) 616-8460
                                      Email: Michael.F.Knapp@usdoj.gov
                                              Adam.Kirschner@usdoj.gov
                                              Brian.C.Rosen-Shaud@usdoj.gov
                                              Kuntal.Cholera@usdoj.gov

                                      Mailing Address:
                                      Post Office Box 883
                                      Washington, D.C. 20044

                                      Courier Address
                                      1100 L Street NW, Room 11020
                                      Washington, D.C. 20005

                                      EREZ REUVENI
                                       CA Bar No. 264124
                                      Assistant Director
                                      U.S. Department of Justice
                                      Civil Division, Office of Immigration Litigation
                                      P.O. Box 868, Ben Franklin Station
                                      Washington, D.C. 20044
                                      Email: Erez.R.Reuveni@usdoj.gov

                                      Counsel for Defendants

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                                CERTIFICATE OF SERVICE
       I certify that a true and accurate copy of the foregoing document was filed electronically

 (via CM/ECF) on March 31, 2022.


                                                    /s/ Michael F. Knapp
                                                    MICHAEL F. KNAPP




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